Case 9:18-cv-81004-RKA Document 74 Entered on FLSD Docket 07/22/2019 Page 1 of 13




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                           Case No. 18-81004-CIV-Altman/Brannon


 MELANIE DAVIS, on behalf of herself and all
 others similarly situated,

              Plaintiff,
       v.

 POST UNIVERSITY, INC.,

              Defendant.




                       DEFENDANT POST UNIVERSITY, INC.’S
                     REPLY IN SUPPORT OF MOTION TO DISMISS
Case 9:18-cv-81004-RKA Document 74 Entered on FLSD Docket 07/22/2019 Page 2 of 13



         In its Motion to Dismiss, the University established that Plaintiff cannot pursue her

  claims under the Telephone Consumer Protection Act (“TCPA”) for two independent reasons.

  First, Plaintiff’s Complaint is fatally overbroad because she claims relief for calls that she

  actively solicited before allegedly making a do-not-call (“DNC”) request. Plaintiff cannot

  ground these distinct claims on the alleged failure of the University to have a written internal

  DNC policy because she did not, and cannot, allege a cognizable injury traceable to such an

  alleged procedural violation. Second, Plaintiff lacks a private right of action to bring her

  “telemarketing” claims under Subsection (c) of the TCPA because that authorizes suit only for a

  subset of telemarketing calls: telephone solicitations. That is, unsolicited telemarketing calls

  received in the absence of an established business relationship or express authorization. Indeed,

  the FCC has consistently held that Subsection (c)’s private right of action only applies to its

  guidelines on telephone solicitations found in Subsection (c) of its rules,1 and thus Plaintiff’s

  “do-call me” claims must be dismissed under the Hobbs Act alone.

         Plaintiff, for her part, sets the theme of her Opposition2 right from the start with

  references to abracadabra, monsters under the bed, time travel, and even getting eaten. Opp. at 1.

  In other words, what follows is largely a work of fiction. Indeed, despite the FCC’s consistent

  and binding interpretation on the limited scope of the private right of action at issue here,

  Plaintiff argues that the “FCC was clear” that the procedural rules applicable to all telemarketing

  calls it adopted in 2003 are enforceable by private plaintiffs because of the table of contents in



  1
         See, e.g., In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act
  of 1991, FCC Rulemaking Proceeding 92-90, 7 F.C.C. Rcd. 8752, ¶ 55 (1992) (“1992 TCPA
  Order”); see also In Re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,
  CG Docket No. 02-278, 18 F.C.C. Rcd. 14014, ¶ 204 (2003) (“2003 TCPA Order”); In the
  Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, CG Docket
  No. 02-278, 20 F.C.C. Rcd. 3788, ¶ 3 n.7 (2005) (“2005 TCPA Order”).
  2
         Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss (ECF No. 71).

                                                    1
Case 9:18-cv-81004-RKA Document 74 Entered on FLSD Docket 07/22/2019 Page 3 of 13



  the 1992 TCPA Order. Opp. at 7–8. That is, the order in which the FCC adopted the rules

  applicable to telephone solicitations. This is not a serious argument.

         Ultimately, Plaintiff’s fantasy is based largely on the false premise that the FCC’s

  guidelines applicable to telephone solicitations in § 64.1200(c) now only apply to calls placed to

  individuals on the National Do-Not-Call Registry. Opp. at 10. But this rule expressly includes

  company-specific do-not-call requirements, specifically the duty to “maintain[] and record[] a

  list of telephone numbers that the seller may not contact.” 47 C.F.R. § 64.1200(c)(2)(i)(C). And

  this duty is provided as an affirmative defense, exactly as Congress mandated. 47 U.S.C. §

  227(c)(5). Yet to enforce this rule, you must first have “telephone solicitations to which [the

  telephone subscriber] object[ed],” also exactly as Congress mandated. Id. at 227(c)(1). As

  Plaintiff does not dispute, however, a telephone solicitation legally cannot be placing a

  telemarketing call to someone who has invited the call or with whom the caller has an

  established business relationship. Such calls are not actionable under the TCPA.

         At bottom, in order to accept Plaintiff’s legal theory, the Court would first need to find

  that Plaintiff suffered a concrete injury from receiving solicited communications she expressly

  invited. The Court would then have to (1) disregard the plain language of the statute, and (2)

  ignore the FCC’s binding interpretation of the scope of Subsection (c)’s private right of action, in

  violation of the Hobbs Act. Indeed, the Court would also have to find that the FCC not only

  silently reversed itself in the same order, but that it dramatically expanded the private right of

  action without any notice or comment, in violation of hornbook administrative law. In short, the

  Court would have to embrace a fantasy and be the first court in the country to do so.

  I.     PLAINTIFF FAILS TO ESTABLISH CONCRETE INJURY TRACEABLE TO
         EACH ALLEGED VIOLATION OF THE TCPA

         The University established that Plaintiff’s claims that are based simply on an alleged


                                                    2
Case 9:18-cv-81004-RKA Document 74 Entered on FLSD Docket 07/22/2019 Page 4 of 13



  failure to institute internal DNC procedures must fail because she has not alleged that this

  alleged procedural violation caused her any cognizable harm for calls received before allegedly

  making a valid do-not-call request. Mem. at 9–16.3 Fatal to her claims, Plaintiff refused to

  address the binding Supreme Court precedent holding that Plaintiff must demonstrate standing

  for each claim and each theory of relief sought. Id. at 10–11. That is, standing to challenge one

  form of conduct — receiving calls after allegedly making a do-not-call request — does not

  confer standing to challenge a different form of conduct — receiving solicited calls before

  making a do-not-call request. Id. There is no supplemental standing.

         Ironically, instead of addressing this binding Supreme Court authority, Plaintiff faults

  the University for not addressing the Eleventh Circuit’s inapposite decision in Muransky v.

  Godiva Chocolatier, Inc., 922 F.3d 1175 (11th Cir. 2019). This case — in which the defendant

  itself did not even challenge whether the plaintiff had standing, id. at 1183 — concerned the

  defendant’s failure to truncate consumers’ credit card numbers printed on receipts. Id. at 1181.

  The Eleventh Circuit found that the plaintiff “suffered a heightened risk of identity theft when

  Godiva printed more digits of his credit card number than the law allows.” Id. at 1184.

  Importantly, however, the court held that this injury occurred at “the moment Godiva printed

  too many digits of his credit card number.” Id. at 1185. That is, the injury-in-fact was directly

  traceable to the exact conduct the statute was meant to prevent in this “one-shot” case.

          Here by contrast, TCPA liability is analyzed on a per-call basis. See, e.g., 2015 TCPA

  Order,4 ¶ 30 (FCC holds that one must “look to the totality of the facts and circumstances

  surrounding the placing of a particular call” to assess liability). And even the cases cited by



  3
   Defendant Post University’s Memorandum in Support of Motion to Dismiss (ECF No. 70-1).
  4
   In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 30
  F.C.C. Rcd. 7961 (“2015 TCPA Order”).

                                                   3
Case 9:18-cv-81004-RKA Document 74 Entered on FLSD Docket 07/22/2019 Page 5 of 13



  Plaintiff make clear that the harm the TCPA is designed to prevent is limited to “the unwanted

  intrusion and nuisance of unsolicited telemarketing.” Opp. at 17–18.5 Indeed, this is spelled

  out in the statute itself: Congress was concerned with telephone subscribers “receiving

  telephone solicitations to which they object,” 47 U.S.C. § 227(c)(1), not calls actively solicited.6

         Muransky therefore has no relevance to this case. Instead, the Eleventh Circuit’s

  decision in Nicklaw v. CitiMortgage, Inc., 839 F.3d 998, 1001–03 (11th Cir. 2016) is directly on

  point. See Mem. at 10 n.8. In Nicklaw, the Court of Appeals refused to find that a procedural

  violation of a statute constituted a concrete injury because the statute in question was not

  designed to prevent the “harm” alleged by the plaintiff: “But these causes of action provided a

  remedy to prevent the risk of harm that occurred while title to property was wrongfully clouded,

  not a remedy after the cloud was lifted.” Id. at 1003.

         The same reasoning applies here to any calls received before making a valid do-not-call

  request. No court has ever found that a plaintiff has standing under the TCPA to pursue claims

  for calls the person actively solicited. Instead, the “statute requires that an individual receive a

  call on his own residential number, a call that he previously took steps to avoid.” Krakauer,

  LLC, 925 F.3d at 653 (emphasis added). In other words, all of the calls plaintiff received before

  allegedly making a do-not-call request would have occurred whether the University complied



  5
          Citing Van Patten v. Vertical Fitness Grp., LLC, 847 F.3d 1037, 1043 (9th Cir. 2017)
  (emphasis added); see also Golan v. FreeEats.com, Inc., No. 17-3156, 2019 WL 3118582, at *4
  (8th Cir. July 16, 2019) (“The harm here was the receipt of two telemarketing messages without
  prior consent.”) (emphasis added).
  6
          For the same reasons, Plaintiff’s attempt to distinguish the Fourth Circuit’s Krakauer
  decision misses the mark. Opp. at 19. The fact that it involves the National Do-Not-Call
  Registry is a distinction without a difference because placing your telephone number on the
  Registry is simply an alternative way of objecting to telephone solicitations. That is, one can
  object either on a company-by-company basis or through the Registry. Either way, a “claim
  under § 227(c)(5) accrues only once” an objection is made and the defendant “actually places
  multiple calls.” Krakauer v. Dish Network, LLC, 925 F.3d 643, 654 (4th Cir. 2019).

                                                    4
Case 9:18-cv-81004-RKA Document 74 Entered on FLSD Docket 07/22/2019 Page 6 of 13



  with the procedural rules at issue or not. There is no “causal connection between the injury and

  the conduct complained of,” which the Supreme Court has ruled must be present for a plaintiff

  to have standing. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992)).

         Thus, the only way to interpret the private right of action in Subsection (c) of the TCPA

  consistent with Article III standing requirements is that Plaintiff only has standing to pursue

  claims for telephone solicitations received after making a do-not-call request. Under binding

  Supreme Court precedent left unaddressed by Plaintiff, she does not have roving Article III

  standing. That is, standing to challenge one form of conduct — receiving calls after allegedly

  making a do-not-call request — does not confer standing to challenge a different form of

  conduct that is not traceable to an alleged procedural violation — receiving solicited calls before

  making a do-not-call request. Plaintiff’s claims for calls predating her do-not-call request

  therefore should be dismissed because she lacks standing to pursue such claims.

  II.    PLAINTIFF LACKS A PRIVATE RIGHT OF ACTION UNDER THE TCPA

         The University established in its Motion that Plaintiff also lacks standing because Section

  64.1200(d) is a procedural rule that was not issued pursuant to Section (c)(2) of the TCPA, and

  thus there is no private right to enforce it. Further, the FCC has consistently interpreted the

  private right of action in Subsection (c) to only apply to telephone solicitations, and Plaintiff

  cannot collaterally attack the FCC’s interpretation of the TCPA here. Mem. at 16–20.

         Plaintiff does not dispute that (1) the procedural rules the FCC adopted for telemarketing

  calls writ large were issued in a separate rulemaking proceeding than the one initiated under

  Subsection (c)(1); (2) were issued over a decade after the deadline to proscribe regulations as

  mandated in Subsection (c)(2); and (3) are outside the scope of Subsection (c)(5)—as the FCC

  itself has repeatedly recognized. Remarkably, Plaintiff actually argues that “[w]hen a statute is



                                                    5
Case 9:18-cv-81004-RKA Document 74 Entered on FLSD Docket 07/22/2019 Page 7 of 13



  clear, ‘the role of the judicial branch is to apply statutory language, not to rewrite it.’” Opp. at

  13–14 (citing Harris v. Garner, 216 F.3d 970, 976 (11th Cir. 2000). The University agrees —

  Subsection (d) cannot be “the regulations prescribed under this subsection”—which are the only

  ones that telephone subscribers have a private right of action to enforce. 47 U.S.C. § 227(c)(5).

         Plaintiff’s argument regarding Congress’s later directive for the FCC to complete the

  separate rulemaking proceeding it began in 2002 regarding the National Do-Not-Call Registry is

  an exercise in missing the point. Opp. at 8 (citing 15 U.S.C. § 6153). Congress did not amend in

  any way the plain language of the TCPA through this separate statute, let alone authorize the

  Commission to turn the private right of action on its head, as Plaintiff’s interpretation would

  demand. But the University is not questioning the FCC’s authority to issue regulations that it has

  the ability to enforce regarding telemarketing generally.7 The only question before the Court is

  whether there is a private right of action to enforce Subsection (d). And under the plain

  language of the statute and the FCC’s own binding interpretation of it, the answer is clearly no.

         Indeed, Plaintiff bizarrely argues that the University is “emphasizing dicta that § 227(c)

  is meant to protect against unwanted telemarketing calls (i.e. ‘telephone solicitations’).” Opp. at

  14. To characterize the plain language and central purpose of the statute itself as dicta is absurd.

  To characterize the FCC’s consistent interpretation that the private right of action is limited to its

  guidelines on telephone solicitations is beyond absurd— it is futile under the Hobbs Act. Mem.

  at 18–20.8 As the University detailed previously, the FCC has held in every order addressing



  7
          Notably, in its 2002 NPRM, the FCC also relied on its statutory authority under Sections
  151-154 and 303(r) of the Communications Act to issue the new rules in 2003. In Re Rules &
  Regulations Implementing Tel. Consumer Prot. Act of 1991, 17 F.C.C. Rcd. 17459, ¶ 85 (2002)
  (“2002 NPRM”). The FCC also has the statutory authority to enforce its regulations directly
  against entities in violation of its rules. See, e.g., 47 U.S.C. §§ 501-504.
  8
          To reiterate, the guidelines on telephone solicitations are only found at § 64.1200(c), and
  as the University established above, this Rule expressly covers company-specific do-not-call

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Case 9:18-cv-81004-RKA Document 74 Entered on FLSD Docket 07/22/2019 Page 8 of 13



  the scope of Subsection (c)’s private right of action that it is limited to enforcing violations of

  “the guidelines for making telephone solicitations. § 227(c)(5).” See, e.g., 1992 TCPA Order, ¶

  55. The FCC reiterated this in its 2002 NPRM, again noting that the private right of action is

  limited to claims for telephone calls received “in violation of the guidelines for making telephone

  solicitations.” 2002 NPRM, ¶ 47. There was absolutely no notice or comment on whether the

  Commission should drastically expand Subsection (c)’s private right of action to cover no-injury

  procedural violations related to solicited telephone calls, or even whether the Commission had

  the authority to do so, as would be required under the APA. See Mem. 19 n.14.9

         In the final analysis, the TCPA is a national statute that balances the privacy rights of

  telephone subscribers against the interests of businesses to contact individuals with whom they

  have an established business relationship. It requires a “uniform, nationwide interpretation . . .

  by the centralized expert agency created by Congress to enforce the TCPA.” Mais v. Gulf Coast

  Collection Bureau, Inc., 768 F.3d 1110, 1119 (11th Cir. 2014). The FCC has never revisited or

  altered its straightforward and consistent interpretation of the scope of subsection (c)’s private

  right of action — that it only applies to violations of its regulations applicable to unsolicited

  telephone solicitations, exclusively found at § 64.1200(c). Plaintiff is barred from asking the

  Court to upend the TCPA’s careful balance and the FCC’s interpretation of it here.

  III.   PLAINTIFF’S RELIANCE ON UNSOLICITED TELEMARKETING CASES
         PROVES THE UNIVERSITY’S POINT


  requests in addition to the National Do-Not-Call Registry. In other words, 64.1200(c)
  completely covers the “privacy rights to avoid receiving telephone solicitations to which
  [telephone subscribers] object.” 47 U.S.C. § 227(c)(1).
  9
          The only issue the FCC sought comment on related to the private right of action was
  whether the Commission should clarify “whether a consumer may file suit after receiving one
  call from a telemarketer who, for example, fails to properly identify himself or makes a call
  outside the time of day restrictions?” Id. It was in direct response to this specific and very
  limited question that the FCC demurred to Congress in its 2003 TCPA Order. See 2003 TCPA
  Order, ¶ 206. Context matters.

                                                    7
Case 9:18-cv-81004-RKA Document 74 Entered on FLSD Docket 07/22/2019 Page 9 of 13



         Plaintiff attempts to use inapposite case law to argue that courts have either found

  plaintiffs have standing under the TCPA or that there is a private right of action for § 64.1200(d)

  violations. But all of the cases are easily distinguishable because they exclusively involve

  unsolicited telephone solicitations, which is precisely the University’s position.

         As an initial matter, however, Plaintiff’s assertion that courts are unanimous and “no case

  supports Defendant’s position” is simply false. Opp. at 10. For example, in a decision affirmed

  by the Eleventh Circuit, the Middle District of Florida held that the “anti-solicitation regulations”

  found in Subsection (d) “do not apply to calls made with the ‘express invitation or permission’ of

  the called party under 47 U.S.C. § 227(a)(4).” Murphy v. DCI Biologicals Orlando, LLC, No.

  6:12-CV-1459-ORL, 2013 WL 6865772, at *9 (M.D. Fla. Dec. 31, 2013), aff'd, 797 F.3d 1302

  (11th Cir. 2015). Likewise, the court in Hamilton v. Spurling, No. 3:11CV00102, 2013 WL

  1164336 (S.D. Ohio Mar. 20, 2013) directly rejected Plaintiff’s theory, holding that calls placed

  before terminating an EBR were not actionable under Subsection (c). Id. at *10–11. This is

  precisely because “it is not until a person who has an EBR . . . requests to be placed on a DNC

  list that a company must comply with the dictates of Section 64.1200.” Id. at *10 n.12 (emphasis

  added). Similarly, in Worsham v. TravelOptions, Inc., No. JKB-14-2749, 2016 WL 4592373 (D.

  Md. Sept. 2, 2016), aff’d, 678 F. App’x 165 (4th Cir. 2017), the court made clear that “the

  requirements of § 64.1200(d) set forth the procedural standards for telemarketers to maintain

  their own, company-specific, do-not-call lists and, consequently, . . . no private right of action

  exists” to enforce these rules. 2016 WL 4592373, at *4, *7.10



  10
          See also Giles v. James B. Nutter & Co., No. 1:13-CV-1800-WBH, 2014 WL 12461035,
  at *1–2 (N.D. Ga. Aug. 26, 2014) (holding that it was legally impossible to violate Subsection
  (c) when EBR with call recipient existed); Bailey v. Domino’s Pizza, LLC, 867 F. Supp. 2d 835,
  842 (E.D. La. 2012) (holding that Subsection (d) “relates to a marketer’s duty to prepare internal
  policies to receive and implement affirmative requests not to receive calls,” and unless an

                                                    8
Case 9:18-cv-81004-RKA Document 74 Entered on FLSD Docket 07/22/2019 Page 10 of 13



          In contrast, the fountainhead of Plaintiff’s “courts are unanimous” argument is the Sixth

   Circuit’s decision in Charvat v. GVN Mich., Inc., 561 F.3d 623 (6th Cir. 2009). There, the court

   discussed in passing, without analysis, violations of Subsection (d) on its way to affirming that

   the plaintiff’s complaint should be dismissed because he failed to meet the amount-in-

   controversy requirement for diversity jurisdiction. Id. at 631–32 (holding that Subsection (c)

   “unambiguously allows for statutory damages on only a per-call basis”). Likewise, in Charvat

   II, Charvat v. NMP, LLC, 656 F.3d 440, 448 (6th Cir. 2011), the court addressed whether the

   same plaintiff could recover for the same unsolicited telephone call under both Subsection (b)

   and Subsection (c) of the statute. Other cases Plaintiff cites similarly deal with unsolicited

   telephone solicitations and/or never analyze the scope of Subsection (c)’s private right of

   action.11 In other words, none of these cases support Plaintiff’s theory that Subsection (c)

   provides a private right of action for solicited telephone calls. As Plaintiff herself has argued,

   these cases have “no relevance” when the pertinent issue before this Court “was neither briefed

   nor presented to the court.” Dkt. No. 68-1 at 24.

          Plaintiff’s reliance on certain cases, however, goes beyond being merely hypocritical.

   For example, Plaintiff quotes Cordoba v. DirecTV, LLC, 320 F.R.D. 582 (N.D. Ga. 2017) —

   another case involving unsolicited calls — for the proposition that calls received in violation of

   the Subsection (d) regulations provide a private right of action. Opp. at 9. But Plaintiff neglects



   individual made an “affirmative request to Defendant,” the provision is not violated).
   11
           See Cunningham v. Rapid Response Monitoring Servs., Inc., 251 F. Supp. 3d 1187, 1191
   (M.D. Tenn. 2017) (telephone solicitations with no established business relationship); Benzion v.
   Vivint, Inc., No. 12-61826-CIV, 2014 WL 11531368, at *1 (S.D. Fla. Jan. 17, 2014) (same,
   involving autodialers); Wagner v. CLC Resorts & Devs., Inc., 32 F. Supp. 3d 1193, 1195 (M.D.
   Fla. 2014) (unsolicited telephone solicitations with no established business relationship involving
   an autodialer); Order at 3, Baxter v. VSC LLC, 8:17CV01718 (M.D. Fla. Mar. 13, 2018), ECF
   No. 34 (same); Melito v. Am. Eagle Outfitters, Inc., No. 14-CV-02440 (VEC), 2015 WL
   7736547 (S.D.N.Y. Nov. 30, 2015) (same).

                                                     9
Case 9:18-cv-81004-RKA Document 74 Entered on FLSD Docket 07/22/2019 Page 11 of 13



   to inform the Court that the Cordoba court immediately qualifies this statement, ruling that such

   calls would “not [be] actionable if a seller has an ‘established business relationship’ (‘EBR’)

   with a customer.” Id. at 587 (emphasis added); see also id. at 596 (finding plaintiff had standing

   because the calls were unsolicited). Plaintiff also cites to Krakauer v. Dish Network L.L.C., 311

   F.R.D. 384 (M.D.N.C. 2015), in which the court similarly ruled that [c]alls are also not

   actionable if a seller has an ‘established business relationship’ (‘EBR’) with a person.” Id. at

   387–88.12

          Far from helping Plaintiff, the case law she cites establishes that, to have a private right

   of action under the TCPA’s Subsection (c), the plaintiff cannot have solicited the calls and

   cannot have had an established business relationship with the defendant. In other words,

   Plaintiff only has a private right of action for telephone solicitations made in violation of the

   TCPA. Because Plaintiff’s claims are predicated on telemarketing generally, rather than the

   much more limited subset of telephone solicitations, Plaintiff’s Complaint is fatally overbroad.

   Accordingly, she lacks a private right of action to bring her claims as pled, and her Complaint

   must be dismissed.

                                             CONCLUSION

          When it appeared likely that the University’s initial motion to dismiss would be granted,

   Plaintiff voluntarily withdrew her claims for the solicited calls she allegedly received. For good

   reason. Plaintiff’s belated attempt to revive these claims at this late juncture should be denied

   once and for all — she does not have Article III or statutory standing to pursue these claims.


   12
           See also Allard v. SCI Direct, Inc., No. 16-CV-01033, 2017 WL 2957883, at *6 (M.D.
   Tenn. July 10, 2017) (“Notably, Allard never gave prior express written consent to receive
   prerecorded telemarketing calls from SCI. Moreover, the telemarketing robocalls happened after
   Allard had repeatedly requested she not be contacted by SCI.) (emphasis added). Plaintiff is
   therefore reading way too much into the one case she claims supports her position because even
   the court there thought it was critical that the calls at issue occurred after repeated DNC requests.

                                                    10
Case 9:18-cv-81004-RKA Document 74 Entered on FLSD Docket 07/22/2019 Page 12 of 13



   Dated: July 22, 2019               Respectfully submitted,

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                                        11
Case 9:18-cv-81004-RKA Document 74 Entered on FLSD Docket 07/22/2019 Page 13 of 13



                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 22, 2019, the foregoing was filed electronically with the
   Clerk of Court to be served by Notice of Electronic Filing from the Court’s electronic filing
   system upon the following:

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